                                    CASE 0:12-cr-00295-PAM-AJB Doc. 5 Filed 12/04/12 Page 1 of 1

                                                IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE DISTRICT OF MINNESOTA

                                                       FIRST APPEARANCE
UNITED STATES OF AMERICA,                                    )            COURTROOM MINUTES - CRIMINAL
                                                             )               BEFORE: Jeanne J. Graham, 3B
                                       Plaintiff,            )                  U.S. Magistrate Judge
                                                             )
   v.                                                        )    Case No:          CR 12-295 PAM/AJB
                                                             )    Date:             December 4, 2012
Julie Ann Campana (2),                                       )    Time Commenced:   2:13 p.m.
                                                             )    Time Concluded:   2:29 p.m.
                                       Defendant.            )    Time in Court:    16 Minutes



APPEARANCES:
   Plaintiff:                  Allen Slaughter, Assistant U.S. Attorney
   Defendant:                  Andrew Mohring
                                      : FPD                  : To be appointed

   Date Charges Filed: December 3, 2012                      Offense: Interference with Commerce by Robbery

   : Waived Reading of Charges                      : Advised of Rights

on        : Indictment

: Bond set in the amount of $25,000 rpr, with conditions, see Order Setting Conditions of Release.


Additional Information:
Defendant also arraigned. See separate minutes.
Defendant moved that the Government retain the rough notes for discovery. Motion is GRANTED. Defense state it
will follow up with a written motion.



                                                                                                              s/T Anderson
                                                                                                         Criminal Duty Clerk




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